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Hon. Colleen McMahon | “yaad Ve
Southern District of New York baw eae

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Re: Sow etal. v. City Of New York et al.
Index No. 21-cv-00533 (CM)(GWG)

Index No. 20-cv-8924 (CM) (GWG)

Your Honor:

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In re: New York City Policing During Summer 2020 Demonstrations ( Jog! 2003

We write on behalf of the Sow plaintiffs and the City of New York to request a brief extension of
time to submit the unopposed motion for preliminary approval of a class settlement and attendant
applications, in the above captioned matter. This is the first application for an extension of this

motion.

The parties have been working cooperatively and diligently to bring this matter to Your Honor.
However, getting all of the necessary details worked out with the claims administrator and
receiving the necessary approvals has proven to be more time consuming than we had initially

imagined.

We respectfully request that plaintiffs be allowed to file their unopposed motion for preliminary
approval of a class settlement and attendant applications on or before July 19, 2023.

We thank the Court for its consideration of this matter.

Respectfully submitted,

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David B. Ranki
